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                                                                                     FILED
                        IN THE UNITED STATES DISTRICT COURT
                                                                           JUN 262024
                                WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION            CLERK, U DISTRICT COURT
                                                                    WESTERN DS         TA#
MARK ORTEGA, individually and on                       Case No. 5:24-cv- 2-XW5E TV LERK
behalf of all others similarly situated,

                 Plaintff                                       DEMAND FOR JURY TRIAL

V.



KELLER WILLIAMS REALTY, INC.
and KWWD, LLC


                 Defendants,


                       FIRST AMENDED CLASS ACTION COMPLAINT

          Plaintiff, Mark Ortega ("Plaintiff' or "Ortega") on behalf of himself and all others similarly

situated, through his undersigned attorney, submits his Complaint against Defendant Keller

Williams Realty, Inc. ("Keller Williams") and Defendant KWWD, LLC ("KW Woodlands")

(collectively as "Defendants") to stop the Defendants from violating the Telephone Consumer

Protection Act ("TCPA") by making telemarketing calls to consumers without consent including

calls to phone numbers that are registered on the National Do Not Call registry ("DNC"). Plaintiff

also seeks injunctive and monetary relief for all persons injured by Defendants' conduct. Plaintiff,

for this Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                               PARTIES

     1.       Plaintiff is an individual and resident of San Antonio, Texas.




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    2.      Keller Williams is a company with is headquarters and principal place of business in

Austin, Texas. Keller Williams conducts business throughout this District and throughout the US,

including Texas.

    3.      KW Woodlands is a Texas limited liability company with its principal place of

business in The Woodlands, Texas, KW Woodlands operates as a franchisee of Keller Williams.

                                JURISDICTION AND VENUE

    4.      Jurisdiction. This Court has federal question subject matter jurisdiction over this

action under 28 U.S.0 §133 1, as the action arises under the Telephone Consumer Protection Act,

47 U.S.C. §227 ("TCPA"). The Court also has supplemental jurisdiction because the Texas

Telephone Solicitation Act ("TTSA") claim relates to the same telemarketing campaign as the

TCPA.

    5.      Personal Jurisdiction. This Court has personal jurisdiction over the Defendants

because the Defendants conduct business in this District and place calls to consumers into this

District.

    6.      Venue. Venue is proper in this District under 28 U.S.0 § 139 1(b) because the Plaintiff

resides in this District and the wrongful conduct giving rise to this case was directed into this

District.

                                       iNTRODUCTION

    7.      In 1991, Congress enacted the TCPA in response to a growing number of consumer

complaints regarding certain telemarketing practices.

    8.      Section 227(c) of the TCPA requires the FCC to "initiate a rulemaking proceeding

concerning the need to protect residential telephone subscribers' privacy rights to avoid receiving

telephone solicitations to which they object." 47 U.S.C. § 227(c)(1).
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   9.        The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R § 64.1200(c)(2).


    10.      A listing on the Registry "must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator." Id

    11.      The TCPA prohibits the initiation of the telephone solicitations to residential telephone

subscribers to the Registry and provides a private right of action against any entity that makes

those calls, or "on whose behalf' such calls are made. 47 U.S.C. § 227(c)(5).

                                   FACTUAL ALLEGATIONS

    12.      Plaintiff is an individual who was in Texas at the time of the messages.

    13.      Plaintiff is, and has been at all times material to this action, the regular and sole user

of his cellular telephone number, which is (210) 744-XXXX.

    14.      At all times material to this action, Plaintiff uses the cell phone with area code (210)

and digits beginning with digits 744 primarily for residential purposes.

    15.      Plaintiff registered his cellular telephone number with the National Do No Call

Registry on or about January 23, 2012.

    16.      Plaintiff registered his number to avoid receiving unwanted telemarketing and

solicitation calls.

    17.      Plaintiff never provided Defendants with his express consent to be contacted.

    18.      Plaintiff has no existing business relationship with Defendants.

    19.      Even though Plaintiff registered his cell phone number on the DNC, and despite the

fact that Plaintiff did not consent to Defendants' solicitation calls, KW Woodlands, by and through




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                                                                                         agent of Defendant Keller
its agent, Julia Puig Jordan ("Julia Jordan"), acting as an apparent

Williams, sent Plaintiff at least two telemarketing messages.
                                                                                                    two distinct and
    20.     On or around March 4, 2024, at 5:38 pm CT, Plaintiff received
                                                                                       Julia Jordan, an agent of KW
separate telemarketing messages to his cell phone number from
                                                                                          number 832-444-4923.The
Woodlands operating under the Keller Williams brand, using telephone

text message is shown below:




                                                I                              I
                                                                        vs*
                                             Saturday 1 March 9. 2024
                                                12:00 PM 2.00 PM
                                                            .




                                                         flICt   dUO AND AREA 04005*
                                      102$I £eu4la9ton Mane, Dr. Spnng, TX 77379

                                                  us for an Open House with
                                            Mimosas .nd te Cream after touring
                                                this beautiful n.m listing



                                                                '
                                      kvv                       *          NDMND




     21.      KW Woodlands' messages did not include any sort of opt-out instructions.

      22.     Plaintiff messaged Jordan and told her to "stop."
                                                                                                  campaign to promote
      23.     KW Woodlands' text messages were sent as part of a marketing

  an open house for a residential property.
                                                                                                              tactics to
      24.      KW Woodlands routinely holds open houses and uses similar marketing
                                                                                         Williams financially benefit.
  generate leads for real estate transactions from which it and Keller


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    25.        According to har.com, a real estate website, 832-444-4923 is associated with Julia

Jordan, an agent of KW Woodlands operating under the Keller Williams brand.'

    26.        KW Woodlands' use of the Keller Williams brand, logos, and marketing materials, as

directed by Keller Williams, created a reasonable belief in Plaintiff that the telemarketing messages

were sent by or on behalf of Keller Williams.

    27.        At all times material to this Complaint, Julia Jordan held herself out as an agent that

sells real estate for Defendants' benefit.

    28.        Keller Williams's website has an option where a user of the website can "Find an

Agent."

    29.        Julia Jordan's name appears on Keller Williams's website as a Keller Williams "luxury

agent" who serves the state of Texas.

    30.        Upon clicking Julia Jordan's name on Keller Williams's website, Julia Jordan's contact

information appears. Below the contact information, it states: "Keller Williams Realty The

Woodlands & Magnolia."

    31.        Keller Williams's website also includes an icon directly under Julia Jordan's picture

that a user can click stating, "Connect with Me."

    32.        Julia Jordan's Facebook and YouTube accounts prominently display: "Keller Williams

Luxury."

    33.        On information and belief, both Defendants have financially benefitted from the

telemarketing calls at issue in this Complaint. KW Woodlands obtained commissions from real

estate transactions generated through its marketing activities, including those using telemarketing.



        See Julia Jordan, HAR.com, https://www.har.com/julia-puig-jordanlagentjpjordan   (last visited June 14,
    1




    2024).




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Keller Williams benefitted financially from KW Woodlands' by receiving royalty fees, as outlined

in the Keller Williams Policies & Guidelines Manual.

   34.      On March 5, 2024, Plaintiff's attorney sent a letter to KW Woodlands stating that

Plaintiff is registered in the National Do Not Call Registry, did not consent to receiving

communications from Defendants, and demanding damages. The email was answered by KW

Woodlands' attorneys on March 20, 2024. Defendants denied the demand.

   35.      On information and belief, Defendants have engaged in a pattern and practice of

sending telemarketing messages to consumers without proper consent, including to those whose

numbers are listed on the National Do Not Call Registry. Plaintiff's experience, as detailed herein,

is not an isolated incident, but rather illustrative of Defendants' systemic disregard for consumer

privacy and the TCPA.

   36.      The unauthorized solicitations that Plaintiff received from or on behalf of Defendants

have harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, occupied his

phone line, and disturbed the use and enjoyment of his phone.

   37.      As a result of Defendants' unlawful conduct, Plaintiff seeks both injunctive and

monetary relief. Specifically, Plaintiff seeks to enjoin KW Woodlands from further violating the

TCPA by directly contacting consumers without proper consent. Plaintiff also seeks to hold Keller

Williams vicariously liable for the TCPA violations committed by KW Woodlands, its agent, due

to Keller Williams' control over KW Woodlands' branding, marketing practices, and its financial

interest in the outcomes of those practices. Plaintiff, on behalf of himself and the proposed Classes,

further seeks an award of statutory damages and costs.
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                                  Direct and Vicarious Liability

    38.      On May 9, 2013, the FCC held within a Declaratoiy Ruling that sellers may not avoid

liability by outsourcing telemarketing:

                        [Aillowing the seller to avoid potential liability by outsourcing its
                telemarketing activities to unsupervised third parties would leave
                consumers in many cases without an effective remedy for telemarketing
                intrusions. This would particularly be so if the telemarketers were judgment
                proof, unidentifiable, or located outside the United States, as is often the
                case. Even where third-party telemarketers are identifiable, solvent, and
                amenable to judgment limiting liability to the telemarketer that physically
                places the call would make enforcement in many cases substantially more
                expensive and less efficient, since consumers (or law enforcement agencies)
                would be required to sue each marketer separately in order to obtain
                effective relief. As the FTC noted, because "[s]ellers may have thousands
                of 'independent' marketers, ... suing one or a few of them is unlikely to
                make a substantive difference for consumer privacy."

May 2013 FCC Ruling, 28 FCC Rcd. at 6588, ¶ 37 (internal citations omitted).

    39.      Additionally, the May 2013 FCC ruling rejected a narrow view of TCPA liability,

including the assertion that a seller's liability requires a finding of formal actual agency and

immediate direction and control over third parties who place a telemarketing call. Id. at 6587 n.

107.

   40.       The evidence of circumstances pointing to apparent authority on behalf of the

telemarketer "should be sufficient to place upon the seller the burden of demonstrating that a

reasonable consumer would not sensibly assume that the telemarketer was acting as the seller's

authorized agent." id. at 6593.

   41.       Keller Williams and its franchisees, including KW Woodlands, utilize telemarketing

as part of their business operations to promote their services and solicit new clients.




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             KW Woodlands, operating under the Keller Williams brand, represents
                                                                                           itself to the
      42.

                                                                                materials, and systems
public as a Keller Williams entity, using Keller Williams' logos, marketing

to sell real estate for the benefit of itself and Keller Williams.
                                                                                               KW office"
      43.    Keller William's website (https://www.kw.com) features a "Find a local
                                                                              franchisee locations such
option, allowing users to locate nearby Keller Williams offices, including

as KW Woodlands.
                                                                                               website are
      44.    Users searching for "The Woodlands & Magnolia" on the Keller Williams
                                                                          displays the Keller Williams
directed to KW Woodlands' specific webpage, which prominently

logo and branding.2
                                                                                                          and
       45.    KW Woodlands' social media presence, including its Facebook, Instagram,
                                                                              branding, reinforcing its
 YouTube accounts, prominently feature the Keller Williams logo and

 public image as a Keller Williams entity.
                                                                                                 marketing
       46.    Keller Williams exercises strict control over its franchisees' branding and
                                                                                 Policies & Guidelines
 practices, including KW Woodlands'. As detailed in the Keller Williams
                                                                         approved marketing materials
 Manual, Keller Williams mandates the use of its name, logos, and
                                                                               This control extends to
 by its franchisees, ensuring brand uniformity across all operations.
                                                                                  cohesive brand image
 advertising, signage, and even business cards, reinforcing a consistent and

  that ties franchisees directly to Keller Williams.

       47.     Keller Williams financially benefits from the sales activities of its franchisees,
                                                                            Manual details a royalty fee
  including KW Woodlands. The Keller Williams Policies & Guidelines
                                                                                        Income to Keller
  structure that requires franchisees to pay a percentage of their Gross Commission

  Williams. This royalty fee structure demonstrates that Keller Williams
                                                                              has a direct financial stake


                                                                                                (last visited
  2
       KW Woodlands, Keller Williams, https:Illoeations.kw.com/?s=the+woodlands+%26+magnolia
  June 14, 2024)
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                                                                                         activities that
in the success of its franchisees' real estate operations, including any telemarketing

lead to closed transactions.
                                                                                         This apparent
    48.      Julia Jordan acted with the apparent authority of Keller Williams.
                                                                          branding and marketing
authority stemmed from KW Woodlands' use of Keller Williams'
                                                                            consumer, like Plaintifi
materials, as authorized and controlled by Keller Williams. A reasonable
                                                                        Williams when she sent the
would have believed that Julia Jordan was acting on behalf of Keller

telemarketing messages at issue.
                                                                                             it initiated
    49.      KW Woodlands is directly liable for the TCPA violations at issue because
                                                                       is vicariously liable for those
the unsolicited telemarketing messages to Plaintiff. Keller Williams
                                                                          approval of the messages,
 violations due to its control over KW Woodlands, its knowledge and
                                                                           Williams brand.
 and the apparent authority created by KW Woodlands' use of the Keller

                                CLASS ACTION ALLEGATIONS
                                                                                           23(b)(2) and
     50.      Plaintiffbrings this action pursuant to Federal Rules of Civil Procedure §

 23(b)(3).
                                                                                         as appropriate:
     51.      Plaintiff proposes the following Class definition, subject to amendment
                                                                                           (1) whose
              National Do Not Call Re2istrv Class: All persons in the United States
                                                                            for at least  31 days, (2)
              telephone numbers were on the National Do Not Call Registry
                                                                                                   (3)
              who received more than one telemarketing call from or on behalf of Defendants,
                                                                                         years before
              within a 12-month period, (4) at any time in the period that begins four
              the date of filing this Complaint through the date of trial.
                                                                                               in the
              Texas Telenhone Solicitation Act Do Not Call Re2istrv Class: All persons
                                                                                               goods
              United States (1) who received a telephonic sales call regarding Defendants'
                                                                               (3) at any time in the
              and/or services (2) to a number listed on the Texas No-Call list
                                                                                    through the date
              period that begins two years before the date of filing this Complaint
              of trial.
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                                                                                          in which the
   52.      Excluded from the Class are counsel, the Defendants, and any entities
                                                                                  any judge to whom
Defendants have a controlling interest, the Defendants' agents and employees,
                                                                                family.
this action is assigned, and any member of such judge's staff and immediate

    53.     Plaintiff and all members of the Class have been harmed by the acts of the Defendants,
                                                                            waste of time, the use of
including, but not limited to, the invasion of their privacy, annoyance,
                                                                                          that occupied
their telephone power and network bandwidth, and the intrusion on their telephone

it from receiving legitimate communications.

    54.      This Class Action Complaint seeks injunctive relief and money damages.
                                                                                               records,
    55.      The Class as defined above are identifiable through the Defendants' dialer

 other phone records, and phone number databases.
                                                                                               Plaintiff
    56.      Plaintiff does not know the exact number of members in the Class but
                                                                             in the hundreds based on
 reasonably believes Class members for each Class number, at minimum,

 the type of calls made.

     57.     The joinder of all Class members is impracticable due to the size
                                                                                       of the Class and

 relatively modest value of each individual claim.
                                                                                             substantial
     58.     Additionally, the disposition of the claims in a class action will provide

 benefit to the parties and the Court in avoiding a multiplicity of identical suits.
                                                                                               proposed
     59.      There are numerous questions of law and fact common to Plaintiff and to the

 Class, including but not limited to the following:
                                                                                               that were
              (a) Whether Defendants made calls to Plaintiff and members of the Class
                  registered on the National Do Not Call Registry;

              (b) Whether Defendants' conduct constitutes a violation of the TCPA;
                                                                                           based on the
              (c) Whether members of the Class are entitled to treble damages
                  willfulness of Defendants' conduct; and




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            (d) Whether Defendant Keller Williams is vicariously liable for calls
                                                                                         placed by KW
                Woodlands.

            Further, Plaintiff will fairly and adequately represent and protect the interests
                                                                                                 of the
   60.

Class. Plaintiff has no interests which are antagonistic to any member of
                                                                            the Class.

                                                                                                     to
   61.      Plaintiff has retained competent counsel. Plaintiff and his counsel are committed

vigorously prosecuting this action on behalf of the other members of the Class.
                                                                                                   only
    62.     Common questions of law and fact predominate over questions affecting
                                                                                          and efficient
individual class members, and a class action is the superior method for fair

adjudication of the controversy.
                                                                                                      is
    63.      The likelihood that individual members of the Class will prosecute separate actions

remote due to the time and expense necessary to prosecute and individual case.

                                FIRST CAUSE OF ACTION
                               Violation of the 47 U.S.C. § 227
                     (On Behalf of Plaintiff and the Do Not Registry Class)

    64.      Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 63

 of this Complaint and incorporates them by reference herein.
                                                                                                  and/or
     65.     The foregoing acts and omissions of Defendants and/or their affiliates, agents,

 other persons or entities acting on Defendants' behalf constitute violations of the TCPA,
                                                                                               47 U.s.c.


 § 227, by making calls to Plaintiff
                                       and members of the Class who are registered in the National

 Do Not Call Registry.

     66.      The statute provides a private right of action to any "person who has received more
                                                                                      entity in violation
 than one telephone call within any 12-month period by or on behalf of the same

 of the regulations prescribed under this subsection." 47 U.S.C. § 227(c)(5).

     67.      Additionally, the Fifth Circuit held that a single text message can constitute a concrete
                                                                                         L.L.C., 998 F.3d
  injury sufficient to confer Article III standing. See Cranor v. 5 Star Nutrition,


                                                   11
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686, 690 (5th Cir. 2021) (concluding that a single
                                                     text message is a nuisance and an invasion of

                                                                             was specifically enacted
privacy and that this type of nuisance is the kind of injury that the TCPA

to curb).

            As a result of Defendants' and/or its affiliates, agents, and/or other
                                                                                     persons or entities
    68.

                                                                      227, Plaintiff and members of
acting on Defendants' behalf's violations of the TCPA, 47 U.S.C. §
                                                                                 and every call made
the Class presumptively are entitled to an award of $500 in damages for each
                                                                             Call Registry.
to their residential or cellular telephone numbers on the National Do Not

    69.      If Defendants' conduct is found to be knowing or willful, the Plaintiff and members

of the Class are entitled to an award of up to treble damages.
                                                                                                    relief
     70.     Plaintiff and members of the Class are also entitled to and do seek injunctive
                                                                                 or entities acting on
 prohibiting Defendants and/or their affiliates, agents, and/or other persons
                                                                                  calls to any cellular
 Defendants' behalf from violating the TCPA, 47 U.S.C. § 227, by making

 telephone numbers registered in the National Do Not Call Registry.

                                    SECOND CAUSE OF ACTION
                           Violation of Tex. Bus. & Corn. Code Ann. § 305
                      (On Behalf of Plaintiff and the Texas Telephone Solicitation
                              Act National Do Not Call Registry Class)
                                                                                               through 63
              Plaintiff repeats and incorporates the allegations set forth in paragraphs
                                                                                           1
     71.


 of this Complaint and incorporates them by reference herein.
              The TTSA states that "[a] person who receives a communication that violates
                                                                                                        47
      72.


 U.S.C. Section 227, a regulation adopted under that provision,
                                                                  or SubchapterArnay bring an action

                                                                         See Tex. Bus. & Corn. Code
  in this state against the person who originates the communication".

  Ann. § 305.053.
                                                                                            other persons
      73.     In violation of the TTSA, Defendants and/or its affiliates, agents, and/or
                                                                   allowed telephonic
  or entities acting on Defendants' behalf's made and/or knowingly


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                                                                               and the Class members'
communications to Plaintiff and the Class members without Plaintiff's
                                                                                 Do Not Call Registry.
prior express consent even though the Class members were on the National
                                                                                         305.053(b) of
   74.      As a result of Defendants' conduct as alleged herein, and pursuant to §
                                                                              entitled to a minimum of
the TTSA, Plaintiff and Class members were harmed and are each
                                                                       members are also entitled to an
$500.00 in damages for each violation. Plaintiff and the Class

injunction against future calls. See id.
                                                                                      and knowing the
    75.      To the extent Defendants' misconduct is determined to be willful
                                                                          statutory damages recoverable
Court should, pursuant to section 305.053(c) treble the amount of

by the members of the Do Not Call Registry Class.

                                        PRAYER FOR RELIEF
                                                                                               for the
             WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays

 following relief:
                                                                                           agents,
              a) Injunctive relief prohibiting Defendants and/or their affiliates,

                    and/or other persons or entities acting on Defendants behalf from calling
                                                                                             their
                    telephone numbers on the National Do Not Call Registry advertising

                     goods or services in the future;
                                                                                              and
              b) An award to Plaintiff and the Classes of damages, as allowed by law;
                                                                             pursuant           to
              c) An order certifying this action to be a proper class action
                                                                                             Court
                     Federal Rule of Civil Procedure 23, establishing such Class the

                     deems appropriate, finding that Plaintiff is a proper representative
                                                                                            of the

                     Class, and appointing the lawyers and law firms representing Plaintiff
                                                                                                as


                     counsel for the Class;

               d)      Such further and other relief as the Court deems just and proper.




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                                         JURY DEMAND

           Plaintiff requests a jury trial.

                                              Respectfully Submitted

                                              MARK ORTEGA, individually and on behalf of
                                              all others similarly situated,

DATED this 26t1 day of April 2024.



                                              ALMANZA TERRAZAS PLLC
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                                              San Antonio, Texas 78216
                                              Telephone: 512-900-9248
                                              Email: paulina(almanza.legal

                                              Is! Paulina Almanza
                                               Paulina Almanza
                                               State Bar No. 24109580
                                               Attorney for Plaintiff Mark Ortega




                                   CERTIFICATE OF SERVICE

        I certify that on June 26, 2024, a copy of this document
                                                                   was served on Counsel for

 Defendant Keller Williams via email:

        Ross S. Elliot: ross(rogersmoorelaw.com
        Stephan Bruce Rogers: steve@rogersmoorelaw.com
        Kelly Puntey Rogers: kelly@retexlaw.com
                                                                Is/Paulina Almanza
                                                                Paulina Almanza




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